                                          81,7('67$7(6',675,&7&2857
                                          :(67(51',675,&72)9,5*,1,$
                                                    ROANOKE

81,7('67$7(62)$0(5,&$
9
                                                                                                      25'(52)'(7(17,21
                                                                                                               3(1',1*75,$/
CARL RAY KENNEDY                                                                              &$6(12 4:18-CR-00033

         ,QDFFRUGDQFHZLWKWKH%DLO5HIRUP$FW86& I DGHWHQWLRQKHDULQJKDVEHHQKHOG,FRQFOXGHWKDWWKHIROORZLQJ
IDFWVUHTXLUHWKHGHWHQWLRQRIWKHGHIHQGDQWSHQGLQJWULDOLQWKLVFDVH

                                                           FINDINGS OF FACT

        7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKHGHIHQGDQWKDVFRPPLWWHGDQRIIHQVH
          D IRUZKLFKDPD[LPXPWHUPRILPSULVRQPHQWRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ          18:2262.F                                  
        7KHGHIHQGDQWKDVQRWUHEXWWHGWKHSUHVXPSWLRQHVWDEOLVKHGE\ILQGLQJ,WKDWQRFRQGLWLRQRUFRPELQDWLRQRIFRQGLWLRQV
         ZLOOUHDVRQDEO\DVVXUHWKHDSSHDUDQFHRIWKHGHIHQGDQWDVUHTXLUHGDQGWKHVDIHW\RIWKHFRPPXQLW\

                                           STATEMENT OF REASONS FOR DETENTION
          ,ILQGWKDWWKHFUHGLEOHWHVWLPRQ\DQGLQIRUPDWLRQVXEPLWWHGDWWKHKHDULQJHVWDEOLVKHVWKDW

The defendant is currently subject to a state detainer and not eligible for release at this time, but reserves the right to request that
conditions be established in the future should his circumstances change.




                                              DIRECTIONS REGARDING DETENTION

         7KHGHIHQGDQWLVFRPPLWWHGWRWKHFXVWRG\RIWKH$WWRUQH\*HQHUDORUKLVGHVLJQDWHGUHSUHVHQWDWLYHIRUFRQILQHPHQWLQD
FRUUHFWLRQVIDFLOLW\VHSDUDWHWRWKHH[WHQWSUDFWLFDEOHIURPSHUVRQVDZDLWLQJRUVHUYLQJVHQWHQFHVRUEHLQJKHOGLQFXVWRG\SHQGLQJDSSHDO
7KHGHIHQGDQWVKDOOEHDIIRUGHGDUHDVRQDEOHRSSRUWXQLW\IRUSULYDWHFRQVXOWDWLRQZLWKGHIHQVHFRXQVHO2QRUGHURIDFRXUWRIWKH8QLWHG
6WDWHVRURQUHTXHVWRIDQDWWRUQH\IRUWKH*RYHUQPHQWWKHSHUVRQLQFKDUJHRIWKHFRUUHFWLRQVIDFLOLW\VKDOOGHOLYHUWKHGHIHQGDQWWRWKH
8QLWHG6WDWHV0DUVKDOIRUWKHSXUSRVHRIDQDSSHDUDQFHLQFRQQHFWLRQZLWKDFRXUWSURFHHGLQJ

                  7KH&OHUNLVGLUHFWHGWRVHQGFHUWLILHGFRSLHVRIWKLV2UGHUWRWKHGHIHQGDQWRUFRXQVHOIRUWKHGHIHQGDQWWRWKH8QLWHG
6WDWHV$WWRUQH\5RDQRNH9$DQGWRWKH8QLWHG6WDWHV0DUVKDO5RDQRNH9$

                   (17(57KLV July 26, 2019
                                                                                                  Robert S. Ballou
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                                                                                                          8QLWHG6WDWHV0DJLVWUDWH-XGJH


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